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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                              TEXARKANA DIVISION


JIMMY L. BROWN                                                                 PLAINTIFFS

v.                            CASE NO. 4:18-CV-04033-SOH

MARKEL AMERICAN INSURANCE COMPANY                                            DEFENDANTS


                             NOTICE OF APPEARANCE

       Lindsey C. Pesek of Quattlebaum, Grooms & Tull PLLC hereby enters her appearance on

behalf of Markel American Insurance Company and certifies that she is admitted to practice in

this Court.


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                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 25, 2018, I filed the foregoing with the Clerk of the Court
using the CM/ECF system, which shall send notification of such filing to the following:

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